925 F.2d 1456Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Garnell Steven HILL, Plaintiff-Appellant,v.Captain J. HOUCK, (West Compound), Defendant-Appellee.
    No. 90-7505.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 4, 1991.Decided Feb. 20, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., District Judge.  (CA-89-926-B)
      Garnell Steven Hill, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Baltimore, Md., for appellee.
      D.Md.
      REMANDED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      The notice of appeal in this case was received in the district court shortly after expiration of the appeal period.  Under Houston v. Lack, 487 U.S. 266 (1988), the notice is considered filed as of the date appellant delivered it to prison officials for forwarding to the court.  The record does not reveal when appellant delivered the notice of appeal for mailing to the court.  Accordingly, we remand the case for the district court to obtain this information from the parties and make the requisite findings under Houston v. Lack.    The record, as supplemented, will then be returned to this Court for further consideration.
    
    
      2
      REMANDED.
    
    